Case 6:10-cv-01846-JA-GJK Document 12 Filed 03/02/11 Page 1 of 1 PageID 40




                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

  GILBERTO SOTO,

                              Plaintiff,

  -vs-                                             Case No. 6:10-cv-1846-Orl-28GJK

  AMERICAN CORADIUS
  INTERNATIONAL, LLC,

                        Defendant.
  ______________________________________


                          ORDER OF DISMISSAL WITH PREJUDICE

          Upon consideration of the Joint Stipulation for Dismissal with Prejudice (Doc. No.

  11), and pursuant to Fed. R. Civ. P. 41(a), it is hereby

          ORDERED that this case is dismissed with prejudice, with each party to bear its

  own fees and costs. All pending motions are DENIED as moot. The Clerk is directed to

  close this file.

          DONE and ORDERED in Chambers, Orlando, Florida this 2nd day of March, 2011.




  Copies furnished to:

  Counsel of Record
  Unrepresented Party
